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                    IN THE UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF ARKANSAS
                              TEXARKANA DIVISION


IN RE: Gary Lynn Snow                                    CASE NO.: 4:18-bk-71466 RDT
       and Billye Jo Snow

         Debtors                                         Chapter 13




                            OBJECTION TO CONFIRMATION


       Comes now Lakeview Loan Servicing, LLC c/o LoanCare (“Creditor”), and for its

Objection to Confirmation of Chapter 13 Plan states:

       1. This Court has jurisdiction over this Objection pursuant to 28 U.S.C. Section 1334 and

28 U.S.C. Section 157(b)(2)(A) and (L). This Objection is filed pursuant to 11 U.S.C. Sections

1322 and 1325 and Federal Rule of Bankruptcy Rule 3015.

       2. Debtors filed Chapter 13 bankruptcy proceedings on May 30, 2018, and a proposed

Plan of Reorganization on May 30, 2018.

       3. Creditor is a secured creditor of Debtors’ bankruptcy proceeding.

       4. On March 7, 2014, a Note was executed in favor of Open Mortgage, LLC in the

principal sum of Eighty-Seven Thousand Seven Hundred Fifty-Five Dollars and 00/100 Cents

($87,755.00). A copy of the Note is attached hereto as Exhibit “A” (the “Note”).

       5. Concurrently, a Mortgage was executed and delivered to Mortgage Electronic

Registration Systems, Inc. (“MERS”) solely as nominee for Open Mortgage, LLC dated March

7, 2014, upon the real property described in the Mortgage which is attached hereto as Exhibit

“B” (the “Mortgage”) and hereafter referred to as the “Real Property”.


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        6. The Mortgage was filed for record in the real estate records of Hempstead County,

Arkansas and recorded on March 18, 2014 as Document #L20140630.

        7. At the time of Debtors’ bankruptcy filing, Debtors were in default on their payments.

There is currently owed a principal balance of $82,457.84, plus interest, costs, fees and late

charges. Debtors are now due for the January 1, 2018 payment and those owing thereafter.

        8. There is a pre-petition arrearage outstanding in the amount of $3,202.95. Debtors’

plan only proposed to cure $2,518.44 for the pre-petition arrearage.

        9. Debtors’ plan is not feasible and should not be confirmed.

WHEREFORE, Creditor prays that its Objection to Confirmation be sustained, that

confirmation of Debtors’ Plan be denied, for costs, attorney's fees and all other just and proper

relief for which it is entitled.




                                              Respectfully submitted,

                                              Marinosci Law Group, P.C.

                                              /s/ Robert S. Coleman, Jr.
                                              Robert S. Coleman, Jr.
                                              Attorney Bar No.: 91144
                                              1405 North Pierce, Suite 306
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                                              501-663-6200
                                              501-663-6201
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                                 CERTIFICATE OF SERVICE

        I, Robert S. Coleman, Jr., certify that a true and correct copy of the foregoing was placed
in the U. S. Mail with sufficient postage affixed hereto and via ECF/Electronic Mail, as to
guarantee proper delivery to the following on this 24th day of July, 2018:



        Debtors’ Mailing:                 Trustee’s Mailing:               Debtor’s Attorney:

         Gary Lynn Snow                    Jack W. Gooding             William Blake Montgomery
          Billye Jo Snow             Chapter 13 Standing Trustee      Montgomery Law Firm, PLLC
          200 Iva Street                     P.O. Box 8202                    PO Box 785
         Hope, AR 71801              Little Rock, AR 72221-8202             Hope, AR 71801




                                              Marinosci Law Group, P.C.

                                              /s/ Robert S. Coleman, Jr.
                                              Robert S. Coleman, Jr.




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                                                                       Exhibit A
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                                                                        Exhibit B
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